                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLORADO


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Matthew Buck                               Civil Action: No 18-cv-02427
Plaintiff,
v.
Bora Song
AND
Hye Song,
Defendants.
______________________________




     PLAINTIFF’S RESPONSE TO THE DEFENDANTS’ MOTION FOR SUMMARY
                               JUDGMENT



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                                       I.      INTRODUCTION


        Defendants filed an improper and early Motion for Summary Judgment, before the

parties have even conducted a Rule 26(f) conference or engaged in discovery. 1 The Motion

conveniently ignores key facts, including how Defendants publicly admitted they lied and

intended to defame Plaintiff. Defendants’ Motion is further unsupported by any

competent, admissible evidence. Because Defendants failed to prove that no genuine issue

of material exists, summary judgment should be denied.


                                 II.        FACTUAL BACKGROUND


        The Defendants engaged in an extended campaign to defame and tarnish Plaintiff’s

reputation. They created a false Twitter account and publicly accused Plaintiff of illegal

activity, solely for their amusement and to harass the Plaintiff. Far from speculating as to

Defendants’ motives, Plaintiff need only cite to Defendants’ own words and actions, which

confirm their defamatory, harassing, and tortious intent.

        On September 20, 2018, a Twitter user with the account name @WilliamWilma2

began sending messages and tweets directed at the public, Plaintiff, Plaintiff’s wife, and

coworkers of the Plaintiff’s wife. See Declaration of Matthew Buck (“Buck Dec.”) attached

hereto as Exhibit A, at ¶7. The WilliamWilma2 account stated that she was a mother of

four minor children, all living in Texas, and that Plaintiff had harassed her under-aged


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 By filing an Answer and their Motion for Summary Judgment, Defendants have waived any objections
regarding personal jurisdiction and their Motion to Dismiss should also be denied as moot. See, e.g.,
Blockowicz v. Williams, 630 F.3d 563, 566 (7th Cir. 2010) (holding defendant waived personal jurisdiction
objections presented in Motion to Dismiss by substantially litigating on the merits); German Am. Fin.
Advisors & Trust Co. v. Rigbsy , 2015 WL 5579751 at *2 (7th Cir. Sep, 23, 2015) (holding defendant waived
her personal jurisdiction defense, even though she filed a Motion to Dismiss, by participating in summary
judgment motions); Fabara v. GoFit, LLC, 308 F.R.D. 380 (D.N.M. 2015) (holding defendant may waive
personal jurisdiction defense by filing dispositive motions on the merits).

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daughter by soliciting sexually explicit pictures from her and then threatening the

daughter with those pictures. See id . at ¶¶ 7-13; Exhibit 1, to Buck Dec. WilliamWilma2

further accused Plaintiff of raping his own young daughters, and the children of his wife’s

coworker. See id .

       Far from a one-time accusation, the WilliamWilma2 account repeated its public

statements, and further tweeted that she would be filing police reports and lawsuits

regarding the Plaintiff’s alleged behavior. See Exhibit 1 to Buck Dec. All the allegations

regarding Plaintiff’s behavior are false. See Buck Dec. at ¶ 13.

       On September 23, 2018, Plaintiff received an email through his law-firm website

and, as a result, he was able to determine the IP address responsible for sending the email.

See id . at ¶¶ 17-19, see also Exhibit 2 to Buck Dec. The email stated:

       “Hello you piece of shit. You should fuck off twitter. Ill make sure I keep
       sending your tweets out to people on my account. I dont give a fuck that
       you’re private and people cant see you. Ill make sure they do. You’re a piece
       of fucking shit and your wife will get mails of your bullshit. Good luck
       raising your daughters. I know you’re bored so Ill make sure to keep this
       drama fueled.”

Id (errors in original).

       To discover who was intentionally defaming him, Plaintiff filed this lawsuit against

the then-unknown account owner of @WilliamWilma2. See id. at ¶¶ 17-23. Plaintiff

believed, based on the writing style in the WilliamWilma2 tweets, that Defendant Bora

Song may have been involved in the account. See id. Consequently, Plaintiff issued a

subpoena to Charter Communications, Inc. for subscriber information associated with the

IP address that was used to send the September 23, 2018, email through Plaintiff’s

website. See id. Charter’s response indicated the IP address was associated with an account



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registered to Defendant Hye Song. See id; see also Attachments 1-3 to Plaintiff’s Response

to Motion to Dismiss, at ECF No. 46, referenced as if fully reproduced herein.

           Plaintiff further issued a subpoena to Twitter, Inc. for information regarding the

registration details and IP addresses that had logged into the account @WilliamWilma2

and Bora Song’s personal Twitter account, which was @irl_idgaf 2 at the time the

subpoena issued. See id. Twitter’s response demonstrated that both WilliamWilma2 and

irl_idgaf were both accessed numerous times from the same IP address, which was the

same IP address as the Charter address associated with Hye Song’s Charter account. See id.

Both the irl_idgaf account and the WilliamWilma account were accessed within minutes

of each other from the same IP address on numerous occasions. See id; see also

Attachments 1-3 to Plaintiff’s Response to Motion to Dismiss, at ECF No. 46.

With this information, Plaintiff sought leave of Court and amended his Complaint to

name Bora and Hye Song as Defendants. See ECF Nos. 41, 44. Curiously, after Defendants

were named in the Third Amended Complaint and therefore available to the public as

named parties, but prior to service being completed, the Defendants tweeted an admission

from the WilliamWilma2 account. See Buck Dec. at ¶24; Exhibit 3 to Buck Dec. The

Defendants confessed all their previous tweets were lies and their statements were based

on lies. See id. Moments after tweeting this admission and attempted retraction,

Defendants apparently deleted the tweet. See Buck Dec. at ¶ 26. Even with this admission,

Defendants now argue that their statements are protected speech and do not constitute

defamation per se.




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    Colloquially, the initializations for “irl” and “idgaf” stand for “In real life, I don’t give a f*ck.”

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                                     III.    ARGUMENT


       While the Court is well-familiar with the standards governing motions for summary

judgment, “summary judgments should be cautiously invoked so that no person will be

improperly deprived a trial of disputed factual issues.” Arkansas Right to Life v. Butler,

983 F.Supp. 1209, 1215 (W.D. Ark. 1997), aff’d 146 F.3d 558 (8th Cir.1998). It is “an

extreme remedy which should be sparingly employed.” Giordano v. Lee, 434 F.2d 1227,

1230 (8th Cir.1970). “Summary judgment is a lethal weapon, and courts must . . . beware

of overkill in its use.” Brunswick Corp. v. Vineberg, 370 F.2d 605, 612 (5th Cir. 1967).

       Whether or not a moving party meets its summary judgment burden, a court may

always deny summary judgment in its discretion. See McClain v. Meier, 612 F.2d 349, 356

(8th Cir.1979) (“[A] district court in passing on a Rule 56 motion performs what amounts

to what may be called a negative discretionary function. The court has no discretion to

Grant a motion for summary judgment, but even if the court is convinced that the moving

party is entitled to such a judgment the exercise of sound judicial discretion may dictate

that the motion should be Denied, and the case fully developed.”); see generally, Jack H.

Friedenthal & Joshua E. Gardner, Judicial Discretion to Deny Summary Judgment in the

Era of Managerial Judging, 31 HOFSTRA L.REV.91, 104 (2002) (“The majority of

federal courts have held that judges have discretion to deny a motion for summary

judgment, even if the parties' submissions would justify granting the motion. The First,

Fourth, Fifth, Eighth, and Federal Circuits have each adopted this view.”).

       In light of the principles outlined above, because Defendants’ statements are not

protected speech, because Defendants fail to submit any competent evidence to support



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their Motion, and because genuine issues of material fact exist, Defendants’ Motion for

Summary Judgment should be denied.

       A. Defendants’ Motion is premature

       As a threshold matter, Defendants’ Motion should be denied because it is

premature. The parties have not engaged in discovery and Defendants have thus far

refused to engage in a Rule 26(f) conference or outline a plan under Rule 26(f)(3). See

Fed. R. Civ. P. 26. Because of Defendants’ refusal to participate in the Rule 26(f)

conference, Plaintiff has yet been unable to seek discovery. See Fed. R. Civ. P. 26(d); see

also Buck Dec. at ¶¶ 32-33; Exhibit 4 to Buck Dec.

       Defendants cannot have it both ways. They cannot refuse to participate in the

procedures necessary to begin discovery, and at the same time contend that Plaintiff

cannot present evidence that creates an issue of material fact. Likewise, and as discussed

further below, Defendants attempt to support their motion with unauthenticated and

partial representations of conversations both with and regarding the Plaintiff. Without an

opportunity to conduct discovery to determine whether these messages are authentic,

Plaintiff cannot properly respond to Defendants’ Motion. See Buck Dec. at ¶¶ 32-33. For

this reason alone, Defendant’s Motion should be denied.

       B. There is no all-encompassing protection for statements of opinion
       In their Motion, the Defendants outline several statements they contend are

protected speech because they are the Defendants’ opinions or are true statements

regarding the Plaintiff. Unfortunately, Defendants cannot cherry-pick some of their

statements as opinion and truth, and leave unaddressed the objective and incorrect factual

statements they publicly made, admitted to making, and then admitted were false.


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       Despite Defendants’ assertions to the contrary, the law is well-settled that a

wholesale exception to defamation does not exist for statements of opinion. See Milkovich

v. Lorain Journal, 497 U.S. 1, 18 (1990), see also McIntyre v. Jones, 194 P.3d 519, 528

(Colo. App. 2008). As the Supreme Court noted, “the statement ‘In my opinion, Jones is a

liar,’ can cause as much damage to reputation as the statement, ‘Jones is a liar.’” See id. at

19. Permitting a defendant to defeat defamation claims because she can couch an implied

knowledge of untrue facts as opinion would create an exception that would swallow the

rule. See id. at 18.

       Indeed, the Supreme Court has categorically rejected a wholesale exemption from

liability for anything that might be labeled an opinion. See id; see also Standing Committee

on Discipline of the U.S. Dist. Ct. for C.D. Cal. V. Yagman, 55 F.3d 1430, 1439 (9th Cir.

1995) (holding that a defamatory opinion without a disclosed factual basis “gives rise to

the inference that there are undisclosed facts that justify the forming of the opinion”), see

also In re Green, 11 P.3d 1078, 1084 (Colo. 2000). Thus, Milkovich and the following case

law raise two questions when considering whether a statement is protected opinion: (1)

does the statement imply an assertion of objective fact, and (2) can the statement be

reasonably interpreted as stating actual facts about an individual? See Milkovich, 491 U.S.

at 18, 20. Because Defendants fail both prongs of this test, their Motion should be denied.

               i.      Defendants’ accusations are provably false

       A statement that a person commits a crime necessarily requires objectively

verifiable events. Here, Defendants publicly tweeted on September 21, 2018, “Matthew

Buck has now threatened my daughter and claimed he will use her pictures online. I have

all the files. As a mother of 4 kids, this is up to me now. My daughters are all on

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#lawtwitter and I would like to be in the loop to see what the fuss is about.” See Buck Dec.

at ¶ 11; Exhibit 1 to Buck Dec. On September 21st, Defendants again alleged that Plaintiff

was harassing a 16-year old girl on Twitter. See id. Defendants further alleged their

underage “daughter” was “one of many” privately messaging with, and being harassed by,

Plaintiff. See id. Finally, on that day, Defendants tweeted: “Matthew William Buck: if you

are reading this, please stop sending DMs to my daughter. I still see it.” See id.

       These statements are either true or false—Plaintiff either committed these actions

or he did not. See, e.g., Yagman, 55 F.3d 1430, 1440 (holding that statements that “could

reasonably be understood as imputing specific criminal or other wrongful acts” are not

entitled to constitutional protection merely because they are phrased in the form of an

opinion”); see also Jankovich v. Int’l Crisis Group, 593 F.3d 22, 28 (D.C. Cir. 2010)

(holding that if criminal acts are verifiable enough to be the bases for criminal detention,

then they are verifiable enough for defamation liability). And despite Defendants’ bald

assertions to the contrary, Plaintiff engaged in none of the alleged conduct. See Buck Dec.

at ¶ 13. Consequently, not only is the first Milkovich question satisfied, but a genuine issue

of material fact exists and summary judgment is inappropriate.

              ii.     A reasonable person would believe Defendants accused Plaintiff
                      of illegal activity

       Defendants’ accusations stated objective (albeit false) facts and alleged Plaintiff

engaged in illegal activity. Defendants consistently and continuously alleged Plaintiff

harassed their fictional daughter over Twitter, and alleged that they were aware of multiple

other young women making the same complaints. In examining a similar scenario, a

California court, under a stricter standard than applicable state law here, found the



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defendants stated actual facts when they levied general and specific criminal accusations

on an internet forum, including an assertion that the plaintiff was “a self-confessed felony

child abuser” who “molested his own son.” See Grenier v. Taylor, 234 Cal. App. 4th 471,

486 (2015); see also Walsh v. Latham, 20104 WL 618995, at *4 (Cal. Ct. App. Feb.18

2014) (holding no protected opinion for calling plaintiff a perv, pervert, sicko, stalker, and

the like because the defamatory posts on Facebook described “concrete behavior” by

plaintiff).

        Here, the Defendants used clear language that explicitly accused Plaintiff of a

crime, stated that they were filing multiple police reports over these alleged crimes

committed by Plaintiff, said they were serving Plaintiff with legal process of some sort, and

reaffirmed their accusations multiple times to various Twitter users. The Defendants did

not use hyperbolic language that would support the impression that they were speaking

figuratively. A reasonable reader would no doubt conclude the Defendants were accusing

Plaintiff of illegal activity. Consequently, Defendants’ statement are not protected opinion

and summary judgment should be denied.

        C. Defendants admitted the statements were false

        Faced with their own admission that the factual statements made by the

WilliamWilma2 account were false, Defendants instead seek to mislead the Court with

innuendo and tortured logic. However, Defendants cannot ignore what they said and their

admission forecloses summary judgment in their favor.

        As discussed above, Defendants publicly said that they were a mother in Texas

whose minor daughter was harassed and threatened by Plaintiff, who possessed the

daughter’s sexually explicit pictures. While future discovery—which the Defendants have

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prevented from occurring while also moving for summary judgment—will prove this

untrue, the Defendants’ tweet is lethal to their argument. Specifically, Defendants

admitted all their tweets were false, that the WilliamWilma2 account was not that of a

mother in Texas, and that the Plaintiff had never harassed Defendants or their imaginary

daughter. See Exhibit 3 to Buck Dec., reproduced here.




Simply put, Defendants’ admission is fatal to their argument that their statements are

protected because they are true. And any argument to the contrary is nothing more than

an attempt to mislead the Court. Therefore, Defendants’ Motion should be denied.

       D. Defendants’ statements are not protected because they are not a matter of
          public concern

       Defendants appear to argue that their statements are further protected because they

are allegedly matters of public concern. Yet again, their argument is unavailing and

summary judgment is not appropriate.




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       Defendants conflate claims of defamation—which are not applicable here—to

claims of defamation per se, which are. Specifically, Defendants cite to Diversified

Management Corp. v. The Denver Post as adopting a “knowledge or reckless disregard”

standard for liability. 653 P.2d 1103 (Colo. 1982). However, as the Defendants’ cited case

makes evident, this standard applies to claims of defamation and not defamation per se.

Instead, defamation per se is a strict liability tort and the only defense is the truth of the

statements made. Furthermore, Colorado law is settled that damages are presumed under

claims of defamation per se, because the statements made are presumptively harmful. If a

libelous communication is defamatory per se, damage is presumed, and a plaintiff need

not plead special damages. See Melcher v. Beeler, 48 Colo. 233, 110 P. 181 (1910); see also

W. Page Keeton et al., Prosser and Keeton on the Law of Torts § 112 (5th ed.1984)(in

defamation per se, “existence of damage was conclusively presumed or assumed from the

publication of the libel itself, without any evidence to show actual harm of any kind”).

Gordon v. Boyles, 99 P.3d 75, 79 (Colo. App. 2004). As Defendants have admitted their

statements are untrue, the cannot avail themselves of that defense. See Exhibit 3 to Buck

Dec. Thus, summary judgment is inappropriate.

       E. The Defendants attached no competent summary judgment evidence

       Under Rule 56, motions for summary judgment must be supported by admissible

evidence. Fed. R. Civ. P. 56(c). Because Defendants failed to provide any admissible

evidence and because Exhibits A-U to their Motion constitute nothing more than

unsupported, unreliable hearsay, summary judgment should be denied.

       In the face of evidence proving that Bora Song’s personal Twitter account and the

WilliamWilma2 account were accessed within minutes from each other from the same

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location, Defendants assert—without support and without a declaration or affidavit—that

they did not make the WilliamWilma2 tweets at issue. See Defendants’ Motion at pp. 1-2.

Curiously, Defendants attach Exhibit L, which is a private message conversation between

an unknown third-party and the person purporting to be WilliamWilma2. See Exhibit L

to Defendants’ Motion. Defendants leave wholly unexplained how they would have a

private message originating from the WilliamWilma2 account if they did not have access

to the account.

       In short, the Defendants made no effort to authenticate, prove up, or prove the

admissibility of any of the evidence attached to their Motion. Although Bora Song has

admitted she is a recent law-school graduate and applicant to the State Bar of California,

she attempts to support her Motion with nothing more than hearsay and innuendo.

Specifically, she attaches multiple purported private message conversations, but redacts

key portions without explanation and makes no attempt to prove the authenticity or who

may be the other person involved in the conversations. See Exhibits A-G, L-U to

Defendants’ Motion. Without any attempt to prove the authenticity, accuracy, or exception

to Rule 801, these exhibits constitute nothing more than inadmissible hearsay. See Fed. R.

Evid. 801. Consequently, summary judgment should be denied.

       F. Defendants failed to prove no issue of material fact exists regarding
          Defendants’ harassment of Plaintiff

       Finally, Defendants are not entitled to summary judgment on Plaintiff’s claim of

harassment because they have not proven no issue of material fact exists. In Colorado,

harassment does not require multiple contacts to fall within the statutory definition:

       •     1) A person commits harassment if, with intent to harass, annoy, or
       alarm another person, he or she…:

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              •      (e) Directly or indirectly initiates communication with a
              person or directs language toward another person, anonymously or
              otherwise, by telephone, telephone network, data network, text
              message, instant message, computer, computer network, computer
              system, or other interactive electronic medium in a manner intended
              to harass or threaten bodily injury or property damage, or makes any
              comment, request, suggestion, or proposal by telephone, computer,
              computer network, computer system, or other interactive electronic
              medium that is obscene.

Colo. Rev. Stat. Ann. § 18-9-111 (West).

       Here, the evidence demonstrates—at a minimum—an issue of material fact exists

as to whether Defendants initiated communication with Plaintiff in a manner intended

to harass or threaten him. Specifically, Defendants’ email to Plaintiff through his law firm

demonstrates their intent to harass and tarnish Plaintiffs’ reputation. See Exhibit 2 to

Buck Dec. A reasonable fact-finder could conclude language such as “Ill make sure I keep

sending your tweets out to people on my account. I dont give a fuck that you’re private and

people cant see you. Ill make sure they do. You’re a piece of fucking shit and your wife will

get mails of your bullshit. Good luck raising your daughters,” demonstrates an intent to

harass and threaten Plaintiff. See id.

       Further, since Plaintiff filed this lawsuit and named Bora and Hye Song as

Defendants, a person purporting to be Bora Song created another twitter account, last

located at https://twitter.com/dejuresas, (although the account is now suspended or

deleted), specifically to harass the Plaintiff and his spouse, as well as his spouse’s co-

workers. See Buck Dec. at ¶¶ 31-32; Exhibit 5 to Buck Dec. Again, at a minimum, these

statements and screenshots demonstrate an intent to threaten and harass Plaintiff and

create an issue of material fact. Summary judgment is therefore inappropriate.




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                                      IV.   CONCLUSION

       For the reasons identified above, the Defendant’s improper, premature, and

unsupported Motion for Summary Judgment should be denied. Plaintiff further requests

all other relief to which he is entitled.



DATED: March 4, 2019



                                                                    /S Matthew W. Buck

                                                                          RED LAW LLC

                                                                  445 Broadway Suite 126

                                                                       Denver, CO 80203

                                                                           matt@red.law

                                                                             720-771-4511




                                CERTIFICATE OF SERVICE


I, Matthew W. Buck, do hereby certify that March 4, 2019, I served a copy of the foregoing
on the Defendants via e-mail, and with the court via its ECF system.


                                                                      /S Matthew W Buck




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